                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 TERRY RICH and                                   )
 PHILLIP HARRIS, individually and on              )
 behalf of themselves and all others              )
 similarly situated,                              )
                                                  )
         Plaintiffs,                              )
                                                  )
 v.                                               )    NO. 2:19-cv-00056
                                                  )
 PUTNAM COUNTY, TENNESSEE,                        )
                                                  )
         Defendant.                               )

                                             ORDER
        The parties have filed a Stipulation of Dismissal (Doc. No. 68). Accordingly, this action is

DISMISSED WITH PREJUDICE, and the Clerk is directed to close the file.

        IT IS SO ORDERED.



                                              ____________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




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